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   To: Judge Cecilia Altonaga
       Southern District of Florida

   From Jean and Robert Hespen

         9/15/18

   Re: Impact of Woodbridge Group of Companies, LLC


   The purpose of this letter is to convey the impact of Woodbridge Group of Companies, LLC’s
   illegal activity on my family. My husband and I are retired schoolteachers (35 and 30 years
   respectively); we have 3 children. Having worked or been reared on a farm, we dreamt of
   purchasing and retiring to a rural existence for ourselves, children and grandchildren. That goal
   was the guiding principle for our frugal lifestyle (e.g. no vacations in 42 years, ). Those lifetime
   savings were invested and reinvested through Knowles and Woodbridge. Our entire
   $500,000.00 retirement/ farm fund was with them and now seems lost.

    Insult was added to injury when we received a glossy prospectus for Woodbridge touting the
   strength and benefits of investment with Woodbridge the very quarter of their filing for
   reorganization bankruptcy. Woodbridge received and cashed a check from us September of
   2017 while in the throes of investigation and filing bankruptcy.

   Robert Shapiro, et.al. of Woodbridge Group of Companies, LLC have robbed us of our lifelong
   savings, stripped us of our dream, dictated the economy of our retirement, cast shadows on
   what should have been our Golden Years, deprived out children and grandchildren of the
   tangible link to their heritage, and eroded our belief in the innate goodness of man!

   Thank you for your time and consideration; we are prayerful of restitution, and we continue
   with confidence that justice will prevail,

   Jean and Robert Hespen




                                                                                            GOVERNMENT
                                                                                              EXHIBIT
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